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3                              UNITED STATES DISTRICT COURT
4                                     DISTRICT OF NEVADA
5                                                ***
6     BARTELL RANCH LLC, et al.,                        Case No. 3:21-cv-00080-MMD-CLB
                                                         Ninth Circuit Case No. 22-15059
7                                        Plaintiffs,
             v.                                                       ORDER
8
      ESTER M. MCCULLOUGH, et al.,
9
                                      Defendants.
10

11          The above-entitled cause having been before the United States Court of Appeals

12   for the Ninth Circuit, and the Court of Appeals having, on April 4, 2022, issued its judgment

13   granting the Reno Sparks Indian Colony and Burns Paiute Tribe’s motion for voluntary

14   dismissal of their appeal, and stating that said order will act as the mandate thereon (ECF

15   No. 199), and the Court being fully advised in the premises, now, therefore, it is ordered

16   that the mandate be spread upon the records of this Court.

17          DATED THIS 5th Day of April 2022.

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                                               MIRANDA M. DU
20                                             CHIEF UNITED STATES DISTRICT JUDGE
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